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                  IN THE UNITED STATES DISTRICT COURT FOR
                   THE EASTERN DISTRICT OF PENNSYLVANIA

 JAMES EVERETT SHELTON                      :          CIVIL ACTION
                                            :
      v.                                    :          No. 21-cv-3045-JMY
                                            :
 LUMICO LIFE INSURANCE CO.                  :
 and ASSURANCE IQ, LLC,                     :


                               STIPULATION OF DISMISSAL

      Now come the plaintiff James Shelton (“Plaintiff”) and the defendants Lumico Life

Insurance Co. (“Lumico”) and Assurance IQ, LLC (“Assurance”) (together “Defendants”),

who stipulate as follows:

      WHEREAS, Federal Rule of Civil Procedure 41(a)(1)(A)(ii) provides that a

plaintiff may dismiss an action by filing a stipulation of dismissal signed by all

parties who have appeared;

      All parties who have appeared hereby STIPULATE to the dismissal of this

action with prejudice as to Plaintiff’s individual claims, without prejudice as to the

claims of putative class members, and with all parties to bear their own attorneys’

fees and costs.




Respectfully Submitted,




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Plaintiff James Shelton,    Defendant Lumico Life    Defendant Assurance IQ, LLC
                            Insurance Co.,
By:                         By:                      By:

/s/ Timothy J. Sostrin      /s/ Lewis S. Wiener      /s/ Daniel E. Brewer
Timothy J. Sostrin          Lewis S. Wiener          Daniel E. Brewer
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                               Certificate of Service

          I, Timothy J. Sostrin, certify that on January 12, 2022, I served all parties

with a copy of the foregoing Stipulation by filing the same through the Court’s CM/ECF

system.




                                               /s/ Timothy J. Sostrin
                                               Timothy J. Sostrin
                                               Attorney for Plaintiff




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